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                                                                    Attorney’s Eyes Only
                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA



RICHARD KADREY, an individual, et
al.

                v.
                                                 Case No. 3:23-cv-03417-VC
META PLATFORMS, INC., a Delaware
corporation;
              Defendant.




                    EXPERT REPORT OF LYLE UNGAR, PH.D.
               Signed in Philadelphia, Pennsylvania on January 10, 2025




                ____________________________________________

                                  Lyle Ungar, PhD




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   significant portions of texts that appear only a few times in their training data. In the case of
   Llama models, Meta’s internal experiments (discussed below) and my own experimentation
   show that Llama does not “memorize” books authored by plaintiffs to this case and is highly
   unlikely to “memorize” similar works.

198.    The term “memorization” is a misnomer, as LLMs, and Llama specifically, do not function
   by memorizing training data. Rather, Llama learns statistical patterns and relationships from
   the training data, generating predictions by assigning probabilities to possible next tokens
   based on the provided context, and using these probabilities to predict the next token. Unlike
   a fixed memory lookup, LLMs rely on a sampling strategy to produce next token predictions,
   meaning there is no single deterministic sequence of tokens attributed to a model. As discussed
   in Section V, for the continuation experiments conducted, greedy sampling, which selects the
   highest likelihood next token, is used to produce consistent and replicable results. However,
   as described in Section IV.B.1.c, commercial LLMs typically do not use greedy sampling, and
   will instead use a non-deterministic sampling technique such as top-p sampling which employ
   variability in the next token selection. For such sampling techniques, a change in just one
   token can completely alter the trajectory of subsequent predictions by reshaping the output
   probabilities.

199.    “Memorization” occurs, as in the examples I describe below, when LLMs overfit on the
   average probabilities of specific training data. LLMs tend to memorize facts, phrases, and
   texts that appear very frequently in their training data and are thus frequently useful for next
   token prediction. For example, Llama is trained on many texts that contain quotations from
   the U.S. Constitution. Because text from the Constitution is found thousands of times in its
   training data, Llama’s weights are slowly adjusted during training such that it usually correctly
   predicts the next token in sequences from the Constitution. The same is true of other very
   well-known and frequently repeated texts, such as the Gettysburg Address, the beginnings of
   famous books (Moby Dick, Frankenstein, and others), well-known poems (The Road Not




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      Taken, for example), and other frequently repeated texts that appear in multiple places on the
      Internet and thus are repeated multiple times in the training datasets.289

200.     Researchers have extensively studied LLMs’ memorization abilities and behavior to
      quantitatively and qualitatively describe the content LLMs memorize.                           Many measure
      discoverable memorization, which checks whether the LLM completes a text verbatim when
      prompted with the beginning of the text.290, 291 Under discoverable memorization, texts are
      considered memorized if, when provided the first 50-100 tokens in a text, the LLM accurately
      reproduces the next 50 tokens from that text.292 Discoverable memorization is favored because
      it is an efficient method of testing whether a specific text is memorized, which allows
      researchers to study memorization behavior by type and frequency of text. To test an LLM’s
      rate of discoverable memorization researchers sample passages from the LLM’s training data
      and prompt the LLM with the beginnings of those passages, much same as the continuations
      experiments described in Section V. As above, the LLM’s outputs are compared with the true
      continuation of the text; if the model accurately continues the text for a predetermined number
      of tokens (often 50), the text is considered memorized.

201.     Results from experiments measuring discoverable memorization show that LLMs
      memorize frequently repeated texts drastically more often than rarer texts. For example, when
      evaluating the PaLM LLM, engineers at Google tested its memorization rate on texts that


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    Other examples include texts frequently repeated on the internet for one reason or another. For example, website
licenses and boilerplate terms and conditions statements, which can be repeated thousands of times in a dataset of
web pages.
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   Jamie Hayes et al., “Measuring Memorization through Probabilistic Discoverable Extraction” (arXiv, October 25,
2024), https://doi.org/10.48550/arXiv.2410.19482.
291
   Other definitions of LLM memorization exist, including extractable memorization, which considers a text
memorized if it can be produced by the LLM in response to any prompt, not just the beginning of the original text.
To concretize the distinction, suppose that in response to the prompt “Write a speech memorializing the battle of
Gettysburg,” an LLM output the text of the Gettysburg Address. The Gettysbug Address would be considered
extractably memorized. On the other hand, if in response to the prompt “Four score and seven years ago,” an LLM
completed the text of the Gettysburg Address, the Gettysburg Address would be considered discoverably
memorized. Texts can be both extractably and discoverably memorized. Extractable memorization is much more
difficult to test, however, because it is difficult to determine what prompt might elicit a specific text as output. To
determine whether a specific text is memorized, testing for discoverable memorization is the simplest and most
direct method. See: Jamie Hayes et al., “Measuring Memorization through Probabilistic Discoverable Extraction”
(arXiv, October 25, 2024), https://doi.org/10.48550/arXiv.2410.19482.
292
   Jamie Hayes et al., “Measuring Memorization through Probabilistic Discoverable Extraction” (arXiv, October 25,
2024), https://doi.org/10.48550/arXiv.2410.19482.


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